Case 2:21-cv-04920-WLH-ADS       Document 440-2   Filed 08/30/24   Page 1 of 21 Page
                                     ID #:11672



   1 Esteban Morales (SBN 273948)
     emorales@mintz.com
   2 MINTZ, LEVIN, COHN, FERRIS,
     GLOVSKY AND POPEO, P.C.
   3 2049 Century Park East, Suite 300
     Los Angeles, CA 90067
   4 Telephone: (310) 586-3200
     Facsimile: (310) 586-3202
   5
     Peter A. Biagetti (Pro Mac Vice)
   6 Dabiagetti@mintz.com
     MINTZ, LEVIN, COHN, FERRIS,
   7 GLOVSKY AND POPEO, P.C.
     One Financial Center
   8 Boston, MA 02111
     Telephone: (617) 542-6000
   9 Facsimile: (617) 542-2241
  10 Attorneys for Defendants MindGeek, S.a r.l.
     (specially appearing), MG Freesites Ltd, MG
  11 Premium   Ltd, MindGeek USA Incorporated, MG
     Global  Entertainment
  12 Quebec Inc.            Inc., and 9219-1568

  13                      UNITED STATES DISTRICT COURT
  14                  CENTRAL DISTRICT OF CALIFORNIA
  15   SERENA FLEITES,                            Case No. 2:21-cv-04920-WLH-ADS
  16                Plaintiff,                    DECLARATION OF ANDREAS
  17                                              ALKIVIADES ANDREOU IN
          v.                                      SUPPORT OF THE MINDGEEK
  18                                              DEFENDANTS' MOTION TO
       MINDGEEK S.A.R.L, et al.,                  DISMISS
  19                Defendants.                   [REDACTED VERSION OF
  20                                              DOCUMENT PROPOSED TO BE
                                                  FILED UNDER SEAL]
  21                                              Hearing Date:      November 22, 2024
  22                                              Hearing Time:      1:30 p.m.
                                                  Courtroom:         9B
  23                                              Judge:             Hon. Wesley L. Hsu

  24                                              Complaint Filed: June 17, 2021

  25                                              Trial Date:        None Set

  26
  27
  28
                                              1
                   DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                         IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-2      Filed 08/30/24   Page 2 of 21 Page
                                    ID #:11673



   1         I, Andreas Alkiviades Andreou, hereby declare as follows:
   2         1.    I am employed by Aylo Group Ltd (formerly known as MG CY Holdings
   3 Ltd) as Director of Corporate Finance, a position which I have held since 2013. I
   4 have also served as a Class A manager (the equivalent of a director) for Aylo Holdings
   5 SI r.l. (formerly known as MindGeek SI r.l.) since 2016.
   6         2.    Through my employment and experience, I am familiar with the
   7 corporate structure and operations of the MindGeek corporate entities named in
   8 Plaintiff's Second Amended Complaint — MindGeek S.a. r.l., MG Freesites Ltd,
   9 MindGeek USA Incorporated, MG Premium Ltd, MG Global Entertainment Inc., and
  10 9219-1568 Quebec Inc. (the "MindGeek Entities") - since 2014, the year Plaintiff
  11 alleges she learned a video depicting her had been uploaded to Pornhub, a website
  12 operated by MG Freesites Ltd.
  13         3.    MindGeek SI r.l., MG Freesites Ltd, MindGeek USA Incorporated, MG
  14 Premium Ltd, and MG Global Entertainment Inc. have been rebranded. MindGeek
  15 SI r.l. was rebranded to Aylo Holdings SI r.l., MG Freesites Ltd was rebranded to
  16 Aylo Freesites Ltd, MindGeek USA Incorporated was rebranded to Aylo USA
  17 Incorporated, MG Premium Ltd was rebranded to Alyo Premium Ltd, and MG Global
  18 Entertainment Inc. was rebranded to Aylo Global Entertainment Inc.
  19         4.    Almost every day since 2016, as part of my regular job responsibilities,
  20 I have dealt and continue to deal with issues involving the corporate structure of these
  21 legal entities and their affiliates (collectively "MindGeek") in some capacity and
  22 therefore have personal knowledge of their corporate histories.
  23    PLAINTIFF'S ALLEGATIONS ABOUT CORPORATE IMPROPRIETIES ARE
  24                                       BASELESS.
  25         5.    I have reviewed the Second Amended Complaint (the "SAC") and am
  26 familiar with the allegations made regarding the structure and operations of the
  27 MindGeek Entities and MindGeek generally. The allegations of the SAC attempt to
  28 falsely characterize the MindGeek corporate structure as an empire of sham
                                           2
                      DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                            IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-2      Filed 08/30/24   Page 3 of 21 Page
                                     ID #:11674



   1 companies created and controlled by Messrs. Antoon, Bergmair, and Tassillo to evade
   2 taxes, avoid personal liability, and unlawfully line their personal pockets. Plaintiff's
   3 characterizations are baseless. Each of the MindGeek Entities is a distinct entity that
   4 complies with corporate formalities and was created for a legitimate business and
   5 economic purpose.
   6         6.    In many instances, the purpose for the creation of a particular MindGeek
   7 entity is self-evident; for example, creating an entity to acquire the business of another
   8 or a third party, or dissolving an entity when it no longer functions or when its
   9 functions can be performed readily by another entity.
  10         7.    MindGeek SI r.l. provides a clear example. Prior to 2014, MindGeek
  11 SI r.l. was created specifically to acquire the business of Manwin Holding SI r.l. In
  12 that transaction, MindGeek S.a r.l. acquired shares in an entity called Manwin RK
  13 SI r.l. from Manwin Holding S.a r.l., the seller, thereby obtaining indirect ownership
  14 interests in the subsidiaries of Manwin RK SI r.l. Since that time, MindGeek SI r.l.
  15 has remained a holding company for various subsidiaries comprising the business of
  16 MindGeek, including the other entities named as Defendants. MindGeek SI r.l. is
  17 incorporated under the laws of Luxembourg and does not have employees or conduct
  18 operations.
  19         8.    The names and number of entities comprising the MindGeek business
  20 have naturally changed since 2014, each for legitimate business reasons.              For
  21 example, in connection with the acquisition described above, MindGeek essentially
  22 rebranded the Manwin business to avoid confusion.            In that regard, Defendant
  23 MindGeek USA Incorporated was renamed to eliminate the reference to Manwin in
  24 its prior name, Manwin USA Incorporated. Although certain Manwin subsidiaries did
  25 not have Manwin in their names, changes to some names were made to reflect changes
  26 to the business. For example, Defendant MG Global Entertainment Inc. used to be
  27 named Playboy Plus International Inc., but MindGeek changed that name when its
  28 agreement to use the name "Playboy" expired. At that time, the business no longer
                                           3
                      DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                            IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-2    Filed 08/30/24   Page 4 of 21 Page
                                     ID #:11675



   1 included running Playboyplus.com (under a digital license agreement) or offering
   2 Playboy-branded programming to television-based businesses, including cable
   3 operators, hotels and cruise ships, but focused instead on offering different adult
   4 programming to such businesses.
   5        9.     The structure of the MindGeek business is like that of many global
   6 organizations. Specifically, MindGeek has companies organized and existing under
   7 the laws of multiple jurisdictions where it has assets, operates businesses, or provides
   8 services for those business. The MindGeek corporate entities, for example, are
   9 organized and exist separately under the laws of Luxembourg, Cyprus, Canada and
  10 the United States, amongst others. When MindGeek S.a r.l. acquired the Manwin
  11 business, the entities comprising that business also spanned those and other
  12 jurisdictions.
  13        10.    MindGeek's corporate structure reflects MindGeek's different lines of
  14 business. Relevant here is the Video Sharing Platform (VSP), formerly known as the
  15 "tubesite business," which most notably includes "Pornhub," a website that offers
  16 non-subscription content.
  17        11.
  18
  19
  20
  21
  22
  23        12.    As the website operator, MG Freesites Ltd is responsible for, inter alia,
  24 performance of the website's major key performance indicators and implementing
  25 initiatives and business strategy related to the website. MG Freesites Ltd bears all
  26 risks related to the conduct of its activities including, market risks, legal risks,
  27 technological risks, and financial risks. Accordingly, MG Freesites Ltd implements
  28 policies and procedures related to the conduct of its website activities. Examples
                                           4
                      DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                            IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-2     Filed 08/30/24   Page 5 of 21 Page
                                    ID #:11676



   1 include, but are not limited to, technology protections such as the MediaWise software
   2 created by Vobile. MediaWise by Vobile uses sophisticated technology to fingerprint
   3 and prevent re-uploading of, amongst others, all content violating Pornhub's CSAM
   4 and non-consensual content policies. MG Freesites Ltd is responsible for launching
   5 "Trust and Safety Center" on the Pornhub website, which explains Pornhub's policies
   6 and procedures.     MG Freesites Ltd also develops and implements policies and
   7 procedures related to the human moderation of all content uploaded to the Pornhub
   8 website, and policies and procedures related to flagging, reporting, and removing
   9 violative content from the Pornhub website. Ex. 2.
  10        13.    None of the MindGeek Defendants owns or uses servers in the United
  11 States to store or manage any pornographic content for the MindGeek VSPs.
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24        14.    As specified below, MG Freesites Ltd, in turn, relies upon the services
  25 of other entities, including Defendant 9219-1568 Quebec Inc. which provides, inter
  26 alia, computer-programming, customer-support, and management services.
  27        15.    Since at least 2014, insofar as one Defendant has provided certain
  28 services to another MindGeek entity, the entity receiving services has paid the entity
                                          5
                     DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                           IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS     Document 440-2    Filed 08/30/24   Page 6 of 21 Page
                                   ID #:11677



   1 providing the services pursuant to the terms of a written agreement. For example, by
   2 service agreement dated January 1, 2013 and amended as of January 1, 2014,
   3 Defendant 9219-1568 Quebec Inc. entered into a service agreement with Defendant
   4 MG Freesites Ltd (formerly known as D.C.I. Capital Investments Limited). Ex. 3;
   5 Ex. 4. Pursuant to the service agreement, 9219-1568 Quebec Inc. agreed to provide
   6 MG Freesites Ltd. with computer programming services, customer support services,
   7 and management services.      In addition to paying actual "Costs" incurred, MG
   8 Freesites Ltd. agreed to pay 9219-1568 Quebec Inc. a mark-up on those "Costs"    U
   9        The parties agreed to review annually the amount of the mark-up and negotiate
  10 in good faith any possible amendments. Since 2014, MG Freesites Ltd has paid •
  11 •    mark-up on these costs. 9219-1568 Quebec Inc. sends monthly invoices to MG
  12 Freesites Ltd for services provided and 9219-1568 Quebec Inc. is renumerated by MG
  13 Freesites Ltd monthly.
  14        16.   In any instance in which one defendant has provided services to another
  15 MindGeek entity, to determine how much of a mark-up is added to the cost
  16 reimbursement, MindGeek has engaged Raymond Chabot Grant Thornton LLP and
  17 its affiliates ("RCGT") to conduct comprehensive transfer-pricing studies. Those
  18 studies are used to determine price ranges for the services at issue in the relevant
  19 market and ensure that intercompany charges are accounted properly for tax purposes.
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                          6
                     DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                           IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS           Document 440-2    Filed 08/30/24   Page 7 of 21 Page
                                         ID #:11678



   1
   2
   3
   4
   5
   6
   7
   8
   9
  10
  11
                      2
  12
  13            17.       Plaintiff's allegations regarding the financial operations of the
  14 MindGeek Entities are inaccurate and misleading. As specified below, each of the
  15 Defendants is separate from the others, has its own bank accounts, files separate tax
  16 returns, and has been adequately capitalized during the relevant period.
  17            18.       Each of the MindGeek Entities has its own bank accounts. Like many
  18 multi-national companies, MindGeek utilizes a centralized treasury to improve cash
  19 management across the MindGeek Entities and their subsidiaries and affiliates. A
  20 centralized treasury provides businesses with significant operational benefits,
  21 including cash-flow optimization. At times, one entity may not have the cash on hand
  22 to pay an immediate obligation, but it may be owed funds from another entity within
  23
       1
  24
  25              For the Court's convenience, only the pages quoted from above are attached
           ereto as Exhibit 5.
  26   2
           For the Court's convenience, excerpts of the documents produced by the
  27 MindGeek   Defendants to Plaintiff referenced in this Declaration are attached as
     Exhibits. If the Court would prefer, the MindGeek Defendants will submit
  28 supplemental exhibits containing all documents referenced by Bates numbers herein.
                                                 7
                            DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                                  IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS       Document 440-2     Filed 08/30/24   Page 8 of 21 Page
                                     ID #:11679



   1 the corporate umbrella. In those circumstances, the MindGeek Entities and their
   2 subsidiaries and affiliates may call upon other entities in the corporate umbrella to
   3 provide it with cash to meet the immediate obligations.          Those inter-corporate
   4 payments are always documented in the relevant accounting systems. The funds were
   5 not always moved from or did not sit in a central bank account as Plaintiff alleges.
   6         19.   For the years 2014 through at least 2018, Defendant MindGeek S.a r.l.
   7 has had its consolidated financial statements audited by RCGT. During the same
   8 period, the other Defendants that are legally required to be audited on an individual
   9 company basis have also been audited in compliance with applicable law. They and
  10 MindGeek SI r.l. have filed their tax returns and paid all taxes due for the tax years
  11 through 2018. Those Defendants which are not required to be audited on an individual
  12 company basis, MindGeek USA Incorporated and MG Global Entertainment Inc.
  13 have filed their tax returns and paid all taxes due to date. Tax returns for the
  14 MindGeek Defendants and other MindGeek affiliates were produced by the
  15 MindGeek Defendants to Plaintiff pursuant the Court's Order dated July 29, 2022.
  16 (Dkt. 67). These documents, bearing bates numbers MindGeek_Fleites 00003824-
  17 00006117, are designated "Confidential" pursuant to the Stipulated Protective Order
  18 entered in this action. (Dkt. 187). See, e.g., Ex. 6.
  19         20.   I understand that the Court expressed concern about the ability of those
  20 MindGeek entities which do not contest personal jurisdiction (9219-1568 Quebec Inc.
  21 and MG Freesites Ltd) to satisfy a potential judgment against them in this case. I
  22 therefore note that the unaudited draft financials as of December 31, 2023, which are
  23 only preliminary drafts and are subject to change, note that total assets for 9219-1568
  24 Quebec Inc.                                                                Further, the
  25 unaudited draft financials as of December 31, 2023 for Aylo Freesites Ltd (formerly
  26 known as MG Freesites Ltd), which are only preliminary drafts and are subject to
  27 change, similarly indicate that total assets
  28
                                           8
                      DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                            IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-2     Filed 08/30/24     Page 9 of 21 Page
                                    ID #:11680



   1              In other words, each of 9219-1568 Quebec Inc. and Aylo Freesites Ltd
   2 stands financially capable of satisfying a potential judgment.
   3        21.
   4
   5
   6
   7
   8        22.    The Shareholders' Agreement dated as of October 18, 2013,
   9
  10 (the "Shareholders' Agreement") (Ex. 7),
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                          9
                     DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                           IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS     Document 440-2    Filed 08/30/24   Page 10 of 21 Page
                                    ID #:11681



   1
   2
   3        23.    Messrs. Antoon and Tassillo were the CEO and COO, respectively, of
   4 9219-1568 Quebec Inc. Accordingly, executive decision-making with respect to
   5 9219-1568 Quebec Inc. was their primary responsibility.
   6        24.    However, directors of the various MindGeek entities handled the day-to-
   7 day operations and decision-making of the MindGeek entity with which they
   8 respectively were affiliated.
   9
  10
  11
  12
  13
  14        25.
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                          10
                     DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                           IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-2     Filed 08/30/24   Page 11 of 21 Page
                                     ID #:11682



   1          EACH DEFENDANT OBSERVES THE REQUIRED CORPORATE
   2                                      FORMALITIES.
   3         26.    Each of the MindGeek entities observes all necessary corporate
   4 formalities. Moreover, the MindGeek Defendants have never operated as a single
   5 business entity. Instead each has existed and operated as a distinct legal entity since
   6 before 2014.
   7         27.    MindGeek S.a r.l. is, and has been since October 2013, a private limited
   8 liability company (societe a responsabilite limitee) incorporated under the laws of
   9 Luxembourg, having its current registered office at 46 Grand Rue, L-1660
  10 Luxembourg and registered with the Luxembourg Register of Commerce and
  11 Companies (R.C.S. Luxembourg) ("RCS") under number B 181337.
  12         28.    MindGeek SI r.l. has served during the relevant period as the ultimate
  13 parent corporation of MG Freesites Ltd, MindGeek USA Incorporated, MG Premium
  14 Ltd, MG Global Entertainment Inc., and 9219-1568 Quebec Inc.
  15         29.    MindGeek SI r.l. has been and is nothing more than a holding company,
  16 without any employees or operations of its own. MindGeek S.a r.l. has never had any
  17 offices or employees in the State of California, let alone the United States. MindGeek
  18 SI r.l. has never exercised control over the day-to-day operations of the other
  19 MindGeek corporate entities, including but not limited to the setting of individual
  20 salaries below the executive level.
  21         30.    During the relevant period, MindGeek S.a r.l. has always been
  22 adequately capitalized, both possessing its own bank accounts and serving as a party
  23 to and responsible for fulfilling its own contracts. As demonstrated in the chart below,
  24 the available cash (i.e., excluding non-cash accounting charges such as depreciation
  25 and amortization) reported by MindGeek S.a r.l. is positive net income for every
  26 period in question, reflecting a healthy level of capitalization enabling it to pay its
  27 ordinary course debts as they came due and while contributing to servicing of debt at
  28 the top level of the organization.
                                           11
                      DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                            IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS     Document 440-2     Filed 08/30/24   Page 12 of 21 Page
                                    ID #:11683



   1                Year       MindGeek SI r.l.         MindGeek SI r.l.
                                Gross Revenue          Operating Expenses
   2
                  2014
   3
                  2015
   4
                  2016
   5
                  2017
   6
                  2018
   7
                  2019
   8
   9 Financial statements of MindGeek S.a r.l. for the years 2014 - 2019, all as audited by
  10 RCGT, were produced by the MindGeek Defendants to Plaintiff pursuant the Court's
  11 Order dated July 29, 2022. (Dkt. 167.) These documents, bearing Bates numbers
  12 MindGeek Fleites 00000849-00001142 and 00001210-00001354, are designated
  13 "Confidential" pursuant to the Stipulated Protective Order entered in this action.
  14 (Dkt. 187.) See, e.g., Ex. 9; Ex. 10.
  15        31.    MindGeek S.a r.l. has always had the equivalent of its own designated
  16 board of directors, referred to as a board of managers, and has always observed all
  17 necessary corporate formalities, such as holding regular board-of-managers meetings
  18 and annual shareholder meetings.        See, e.g., Ex. 11 (MindGeek SI r.l. Board
  19 Minutes); Ex. 12 (MindGeek SI r.l. Shareholder Minutes). The current members of
  20 the board of managers are Anis Baba, Claude Favre and myself.
  21        32.    MG Freesites Ltd, formerly D.C.I. Capital Investments Limited, is and
  22 has been since before 2014 a limited liability company organized and operating under
  23 the laws of the Republic of Cyprus, having its head office at 195-197 Old Nicosia-
  24 Limassol Road, Block 1 Dali Industrial Zone, Cyprus. Since this entity was acquired
  25 by MindGeek, it has been known as MG Freesites Ltd.
  26        33.    During the relevant period, MG Freesites Ltd has been responsible for
  27 operating tubesites, including Pornhub.       MG Freesites Ltd has also operated
  28 associated websites, including "Pornhub Premium," which offer certain subscription
                                          12
                     DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                           IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-2      Filed 08/30/24   Page 13 of 21 Page
                                     ID #:11684



   1 content. In addition, MG Freesites Ltd operates the ModelHub program and Content
   2 Partner Program.
   3         34.   MG Freesites Ltd has not during the relevant period ever had any offices
   4 or employees in the State of California, or in the United States.
   5         35.   During the relevant period, MG Freesites Ltd has always been
   6 adequately capitalized, both possessing its own bank accounts and serving as a party
   7 to and responsible for fulfilling its own contracts. As demonstrated in the chart below,
   8 the available cash (i.e., excluding non-cash accounting charges such as depreciation
   9 and amortization) reported by MG Freesites Ltd is positive net income for every
  10 period in question, reflecting a healthy level of capitalization enabling it to pay its
  11 ordinary course debts as they came due.
  12                 Year        MG Freesites Ltd         MG Freesites Ltd
                                  Gross Revenue          Operating Expenses
  13
                   2014
  14
                   2015
  15
                   2016
  16
                   2017
  17
                   2018
  18
                   2019
  19
  20 Financial statements for MG Freesites Ltd for the years 2014 - 2019, all as audited
  21 by RCGT were produced by the MindGeek Defendants to Plaintiff pursuant the
  22 Court's Order dated July 29, 2022. (Dkt. 167.) These documents, bearing Bates
  23 numbers MindGeek Fleites 00000376-600, are designated "Confidential" pursuant
  24 to the Stipulated Protective Order entered in this action. (Dkt. 187.) See, e.g., Ex. 13.
  25         36.   During the relevant period, MG Freesites Ltd always has had the
  26 equivalent of its own designated board of directors, referred to as a board of managers,
  27 and always has observed all necessary corporate formalities, such as holding regular
  28 board-of-managers meetings. See, e.g., Ex. 14 (MG Freesites Ltd Board Minutes).
                                           13
                      DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                            IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-2      Filed 08/30/24   Page 14 of 21 Page
                                     ID #:11685



   1 The current members of the board of managers are Anis Baba, Polina Hadjivasiliou,
   2 Charme Management Ltd, and myself.
   3         37.   MindGeek USA Incorporated, formerly Manwin USA Incorporated, is
   4 and has been since before 2014, a corporation incorporated under the laws of the State
   5 of Delaware, having its principal executive office in Texas since 2023. The current
   6 address of that office is 610 Brazos Street, Suite 500, Austin, Texas 78701, United
   7 States of America.
   8         38.   MindGeek USA Incorporated's sole function during the relevant period
   9 has been to distribute DVD-based content pursuant to the terms of one contract.
  10 MindGeek USA Incorporated has not created, solicited, posted, managed, or had any
  11 other involvement with the website content at issue in the instant case.
  12         39.   During the relevant period, MindGeek USA Incorporated has always
  13 been adequately capitalized, both possessing its own bank accounts and serving as a
  14 party to and responsible for fulfilling its own contracts. MindGeek USA Incorporated
  15 also has had during the relevant period its own designated board of directors and
  16 observed all necessary corporate formalities.          Currently, the sole director of
  17 MindGeek USA Incorporated is Andrew Link.
  18         40.   MG Premium Ltd, formerly Froytal Services Ltd, is and has been since
  19 before 2014 a limited liability company organized and operating under the laws of the
  20 Republic of Cyprus, having its head office at 195-197 Old Nicosia-Limassol Road,
  21 Block 1 Dali Industrial Zone, Cyprus.
  22         41.   MG Premium Ltd is and has been since before 2014 responsible for
  23 operating websites referred to as "paysites," which offer certain subscription-based
  24 content. MG Premium Ltd does not operate Pornhub or Pornhub Premium, the
  25 ModelHub program or the Content Partner Program. MG Premium Ltd has not
  26 created, solicited, posted, managed, or had any other involvement with the website
  27 content at issue in the instant case. MG Premium Ltd also holds intellectual property
  28 rights to certain content that is not alleged to have anything to do with Plaintiff.
                                           14
                      DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                            IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-2      Filed 08/30/24   Page 15 of 21 Page
                                     ID #:11686



   1         42.   MG Premium Ltd has not during the relevant period ever had any offices
   2 or employees in the State of California, or in the United States.
   3         43.   During the relevant period, MG Premium Ltd has always been
   4 adequately capitalized, both possessing its own bank accounts and serving as a party
   5 to and responsible for fulfilling its own contracts. As demonstrated in the chart below,
   6 the available cash (i.e., excluding non-cash accounting charges such as depreciation
   7 and amortization) reported by MG Premium Ltd is positive net income for every
   8 period in question, reflecting a healthy level of capitalization enabling it to pay its
   9 ordinary course debts as they came due.
  10                  Year       MG Premium Ltd            MG Premium Ltd
                                  Gross Revenue           Operating Expenses
  11
                    2014
  12
                    2015
  13
                    2016
  14
                    2017
  15
                    2018
  16
                    2019
  17
  18 Financial statements for MG Premium Ltd for the years 2014 - 2019, all as audited
  19 by RCGT, were produced by the MindGeek Defendants to Plaintiff pursuant the
  20 Court's Order dated July 29, 2022. (Dkt. 167.) These documents, bearing bates
  21 numbers MindGeek Fleites 00000601-848, are designated "Confidential" pursuant
  22 to the Stipulated Protective Order entered in this action. (Dkt. 187.) See, e.g., Ex. 15.
  23         44.   During the relevant period, MG Premium Ltd has always had the
  24 equivalent of its own designated board of directors and has always observed all
  25 necessary corporate formalities, such as holding regular board-of-directors meetings.
  26 See, e.g., Ex. 16 (MG Premium Ltd Board Minutes). The current members of the
  27 board of directors are Anis Baba, Polina Hadjivasiliou, Charme Management Ltd, and
  28 myself.
                                           15
                      DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                            IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-2     Filed 08/30/24   Page 16 of 21 Page
                                     ID #:11687



   1         45.   MG Global Entertainment Inc., formerly Playboy Plus Entertainment
   2 Inc., is and has been since before 2014 a corporation incorporated under the laws of
   3 the State of Delaware, having its principal executive office in Texas since 2023. The
   4 current address of that office is 610 Brazos Street, Suite 500, Austin, Texas 78701
   5 United States of America.
   6         46.   During the relevant period, MG Global Entertainment Inc. has run
   7 Playboyplus.com (under a digital license agreement) and provided content to
   8 television-based businesses, with a focus on cable operators, hotels, and cruise ships,
   9 among other content providers.
  10         47.   During the relevant period, MG Global Entertainment Inc. has also
  11 provided limited support services to other MindGeek corporate entities. As discussed
  12 in more detail above, those services have been and are provided pursuant to written
  13 agreements which respect the separateness of the service provider and the service
  14 receiver.     Currently, two employees of MG Global Entertainment Inc. have
  15 responsibilities for Trust and Safety on MindGeek websites, including the tubesites.
  16 None has or has had any responsibility for moderation of content before it is uploaded
  17 to the tubesites, and none is alleged to have had anything to do with Plaintiff.
  18         48.   During the relevant period, MG Global Entertainment Inc. has always
  19 been adequately capitalized, both possessing its own bank accounts and serving as a
  20 party to and responsible for fulfilling its own contracts. During the relevant period,
  21 MG Global Entertainment Inc. also has always had its own designated board of
  22 directors and observed all necessary corporate formalities. Currently, the sole director
  23 of MG Global Entertainment is Andrew Link.
  24         49.   9219-1568 Quebec Inc. is and has been since before 2014 a corporation
  25 organized and operating under the laws of the Province of Quebec, Canada, having
  26 its head office at 7777 Decarie Boulevard, Montreal, Quebec H4P-2H2.
  27         50.   During the relevant period, 9219-1568 Quebec Inc. has not had any
  28 offices in the State of California, or in the United States. It previously had two
                                           16
                      DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                            IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS      Document 440-2      Filed 08/30/24   Page 17 of 21 Page
                                     ID #:11688



   1 employees in the United States, not in California, who provided services to
   2 MindGeek's paysite businesses, not to any of MindGeek's tubesites which are at issue
   3 in this litigation.
   4         51.    During the relevant period, 9219-1568 Quebec Inc. has always been
   5 adequately capitalized, both possessing its own bank accounts and serving as a party
   6 to and responsible for fulfilling its own contracts. As demonstrated in the chart below,
   7 the available cash (i.e., excluding non-cash accounting charges such as depreciation
   8 and amortization) reported by 9219-1568 Quebec Inc. is positive net income for every
   9 period in question, reflecting a healthy level of capitalization enabling it to pay its
  10 ordinary course debts as they came due.
  11                  Year    9219-1568 Quebec Inc.      9219-1568 Quebec Inc.
                                 Gross Revenue            Operating Expenses
  12
                   2014
  13
                   2015
  14
                   2016
  15
                   2017
  16
                   2018
  17
                   2019
  18
  19 Financial statements for 9219-1568 Quebec Inc. for the years 2014 - 2019, all as
  20 audited by RCGT, were produced by the MindGeek Defendants to Plaintiff pursuant
  21 the Court's Order dated July 29, 2022. (Dkt. 167.) These documents, bearing bates
  22 numbers MindGeek Fleites 00001355-1391 are designated "Confidential" pursuant
  23 to the Stipulated Protective Order entered in this action. (Dkt. 187.) See, e.g., Ex. 17.
  24         52.    During the relevant period, 9219-1568 Quebec Inc. has always had its
  25 own designated board of directors and observed all necessary corporate formalities.
  26 As it does not contain any executive business functions and serves solely as an
  27 administrative unit, 9219-1568 Quebec Inc. has not taken material actions requiring
  28 board or stockholder approval.       Most actions are instead completed by written
                                            17
                       DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                             IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS    Document 440-2     Filed 08/30/24   Page 18 of 21 Page
                                   ID #:11689



   1 resolutions. The current members of its board of directors are Polina Hadjivasilliou
   2 and myself.
   3        53.
   4
   5
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                          18
                     DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                           IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS   Document 440-2    Filed 08/30/24   Page 19 of 21 Page
                                  ID #:11690



   1                         WAS FORMED FOR LEGITIMATE ECONOMIC AND
   2                             BUSINESS PURPOSES
   3        54.
   4
   5
   6        55.
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16        56.
  17
  18
  19
  20
  21        57.
  22
  23
  24        58.
  25
  26
  27        59.
  28
                                         19
                    DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                          IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS   Document 440-2    Filed 08/30/24   Page 20 of 21 Page
                                  ID #:11691



   1
   2
   3
   4
   5        60.
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
       4
  25
  26
  27
                                     -                          -
  28
                                         20
                    DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                          IN SUPPORT OF MOTION TO DISMISS
Case 2:21-cv-04920-WLH-ADS     Document 440-2    Filed 08/30/24   Page 21 of 21 Page
                                    ID #:11692



   1
   2
   3
   4        61.
   5
   6
   7
   8
   9
  10
  11        I declare under penalty of perjury under the laws of the United States of
  12 America that the foregoing is true and correct.
  13        Executed on August 30, 2024 at Nicosia, Cyprus.
  14
  15
                                                        Andreas A! vimies Andreou
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                          21
                     DECLARATION OF ANDREAS ALKIVIADES ANDREOU
                           IN SUPPORT OF MOTION TO DISMISS
